Case 3:20-cr-00044-CAR-CHW Document 71-80 Filed 08/18/21 Page 1 of 2

United States of America

Department of the Treasury
Internal Revenue Service

Date: August 3, 2021
CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed: an exact transcript of the Business Master File Online
Payment Summary screen (BMFOLP) for the Employer Identification Number (EIN) 82-
6703577 for Marshana El Investment Tr, for tax year 2016, consisting of one (1) page

a

—————
——<——
—————
Se

under the custody of this office.

IN WITNESS WHEREOF, | have hereunto
set my hand, and caused the seal of this
office to be affixed, on the day and year
first above written.

By the direction of the Secretary of the Treasury:

Jay Elton

Supervisory Investigative Analyst

Internal Revenue Service-Criminal Investigation
Delegation Order 11-5

GOVERNMENT
EXHIBIT

Catalog Number 19002E *U.S. GPO: 1997-417-690/61741
RAM 08/03/2021 USAO-030094
Case 3:20-cr-00044-CAR-CHW Document 71-80 Filed 08/18/21 Page 2 of 2

BMFOLP82-6703577 BMF PAYMENT SUMMARY
UP-CYC:29

MFT TAXPD PLAN TC DATE AMOUNT CYCLE DLN

NO PAYMENT TRANSACTIONS FOUND FOR THE REQUESTED DATE RANGE
PAGE 001 OF O01 PBMFPG 001

07/26/2021

USAO-030095
